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19                                 UNITED STATES DISTRICT COURT

20                            NORTHERN DISTRICT OF CALIFORNIA

21                                    SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA

23                    Plaintiff,                       NOTICE OF APPEARANCE BY
                                                       RUCHIKA AGRAWAL
24          v.

25   GOOGLE, INC.

26                    Defendant.

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     NOTICE OF APPEARANCE BY RUCHIKA AGRAWAL
     CASE NO. CV10-03561 WHA
     pa-1451159
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 1          TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE of the appearance of attorney Ruchika Agrawal

 3   (ragrawal@mofo.com) of the law firm of Morrison & Foerster LLP, 755 Page Mill Road,

 4   Palo Alto, CA 94304, as counsel of record in this action for Plaintiff Oracle America, Inc.

 5   Dated: March 8, 2010                         By:     /s/ Ruchika Agrawal ___________
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